
40 Mich. App. 415 (1972)
198 N.W.2d 913
LEVINSON
v.
PAYSON
Docket No. 11060.
Michigan Court of Appeals.
Decided May 1, 1972.
Gerald R. Hershberger, for plaintiff.
Lacey &amp; Jones (by John Hayes), for defendants.
Before: LESINSKI, C.J., and BRONSON and TARGONSKI,[*] JJ.
Leave to appeal granted and decision of Court of Appeals reversed, 388 Mich 792.
PER CURIAM.
Plaintiff was injured by a fall in defendants' home where she was a domestic worker. She recovered workmen's compensation benefits through the labor broker who assigned her to work for defendants. Plaintiff brought this suit against defendants as third-party tortfeasors *416 and appeals an accelerated judgment in their favor.
Plaintiff argues that since she was a domestic worker in defendants' home, defendants are not liable under the workmen's compensation act, MCLA 418.118; MSA 17.237(118), and are not protected by it. The unrebutted affidavit accompanying defendants' motion for accelerated judgment set forth that defendants had, through the labor broker, voluntarily secured workmen's compensation insurance coverage. This is permissible under the Workmen's Compensation Act. MCLA 418.121; MSA 17.237(121). On these facts, the case is indistinguishable from and governed by Renfroe v Higgins Rack Coating &amp; Manufacturing Co, Inc, 17 Mich App 259 (1969).
Affirmed.
NOTES
[*]  Former circuit judge, sitting on the Court of Appeals by assignment pursuant to Const 1963, art 6, § 23 as amended in 1968.

